ADA COUNTY
PROSECUTING ATTORNEY

GREG H. BOWER

 

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CRIMINAL

DIVISION CERTIFICATE OF RECEIPT

Phone (208) 287-7700
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per DATE: Ulo 5 | CASE no: CiLVE- 1 DR -QODU oH 2-
mowaooaer® | DEFENDANT: \DSNUa Lee (X\c Exoaned
AUDIO/VIDEO: oS « (\S

DISCOVERY PAGES: ag Ade

Request for Discovery Discovery Response to Court we
Response to Discovery __\|/ Addendum to Discovery:
Notice of Hearing: 404 (b) Notice
609 Notice: aa. Motion in Limine:
OTHER MATERIALS :

 

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I CERTIFY THAT I RECEIVED THE ABOVE REFERENCED

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ADA COUNTY PUBLIC DEFENDER

 

 

Melisa Lennox

Legal Assistant to Jan Bennetts
Ada County Prosecutor’s Office
Criminal Felony Division

 
